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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                      NO. 4:07CR00378 SWW

JUSTIN SMITH



                           ORDER OF DISMISSAL

      Pursuant to the government’s motion made in Open Court to dismiss

the counts of the Indictment as to defendant Justin Smith,

      IT IS ORDERED that the government’s motion is granted, and the

counts of the Indictment pending against Justin Smith in the above-

captioned matter hereby are dismissed.

      Dated this 16th day of April, 2008.



                                         /s/Susan Webber Wright

                                         UNITED STATES DISTRICT JUDGE
